Case 4:20-cv-00130-SDJ-KPJ Document 16 Filed 09/28/20 Page 1 of 1 PageID #: 53




                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

  LINDA SMITH,                                     §
                                                   §
            Plaintiff,                             §
                                                   §
  v.                                               §    Civil No. 4:20-cv-130-SDJ-KPJ
                                                   §
  SHELLPOINT MORTGAGE,                             §
                                                   §
            Defendant.                             §


                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the report of the United States Magistrate Judge in this action,

this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

On September 3, 2020, the Magistrate Judge entered proposed findings of fact and

recommendations (Dkt. #14) that this matter be dismissed without prejudice for want of
     .
prosecution.

          Having received the Report of the United States Magistrate Judge, and no timely objections

being filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

          Accordingly, Plaintiff Linda Smith’s claims are DISMISSED WITHOUT PREJUDICE.

          All relief not previously granted is DENIED. The Clerk is directed to CLOSE this civil

action.


            So ORDERED and SIGNED this 28th day of September, 2020.




                                                            ____________________________________
                                                            SEAN D. JORDAN
                                                            UNITED STATES DISTRICT JUDGE
